               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No: 1:21-cv-00714-CCE-LPA


   Arthur Hill,

                            Plaintiff,
      v.

   Carvana, LLC and
   Experian Information Solutions, Inc.,

                            Defendants.

       DEFENDANT CARVANA, LLC’S RESPONSE IN OPPOSITION TO
       PLAINTIFF’S MOTION TO COMPEL DISCOVERY RESPONSES

       Defendant Carvana, LLC (“Carvana”), by and through counsel, submits this

Response in Opposition to Plaintiff Arthur Hill’s (“Plaintiff”) Motion to Compel Discovery

Responses (the “Motion”) (ECF No. 38), stating the following:

                                    INTRODUCTION

       Ostensibly, Plaintiff’s Motion concerns the sufficiency of Carvana’s responses to

several discovery requests. In reality, Plaintiff requests Carvana to: (i) admit allegations

that Carvana properly denied because they are not true, (ii) provide information that

Carvana has already provided or does not exist, and (iii) provide information and

documents nothwithstanding Carvana’s valid objections. Moreover, prior to seeking

intervention from the Court, Plaintiff failed to engage in a meet and confer conference as

required by Local Rule 37.1(a) and did not confer with Carvana concerning certain

discovery responses in dispute. As shown by Plaintiff’s requests and Carvana’s responses

thereto, Plaintiff has unnecessarily involved this Court with a dispute that, at the time of

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this Response, and to the extent possible, has already been resolved or may have been given

sufficient opportunity to respond.

                                     BACKGROUND

       The focus of this lawsuit is Plaintiff’s allegation that Carvana improperly initiated

soft inquiries of his credit report on April 7, 2020 and April 17, 2020 without a permissible

purpose – an alleged action that Plaintiff acknowledges did not result in any damages. (See

generally First Am. Compl., ECF No. 18). See also Nowlin v. Avis Budget Grp., No.

1:11CV511, 2011 WL 7087108, at *2 (M.D.N.C. Dec. 22, 2011), report and

recommendation adopted, No. 1:11CV511, 2012 WL 204162 (M.D.N.C. Jan. 24, 2012).

On November 24, 2021, a scheduling order was entered which authorized the parties to

engage in discovery. (ECF No. 28). Since that time, Plaintiff has propounded 23 requests

for admission (“RFA”), 13 interrogatories (“ROG”), and 10 requests for production

(“RFP”), all of which have been timely responded to. (See Pl.’s Memo. in Supp. of Mot. to

Compel Disc. Resp. from Carvana (“Pl.’s Memo.”), Exs. A-F, ECF Nos. 39-1-39-6).

       By letter sent on March 28, 2022 (“Meet and Confer Letter”), Plaintiff alerted

Carvana to perceived issues with Carvana’s responses to Plaintiff’s RFA 5, 9, 11, 12, 18,

and 23, ROG 1, 5, and 6, and RFP 1, 2, 4, 5, 6, and 10. (See Pl.’s Memo., Ex. G, ECF No.

39-7). On April 4, 2022, Carvana provided a detailed response to Plaintiff’s Meet and

Confer Letter and requested a call to discuss the issues in more detail. (See Pl.’s Memo.,

Ex. H, ECF No. 39-8). Aside from Plaintiff consenting to the Joint Motion for Entry of

Stipulated Protective Order (ECF No. 36) and the proposed Stipulated Order of Protection

as to Confidential Data and Documents (“Stipulated Order of Protection”) (see ECF No.

                                             2


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37),12 Plaintiff failed to substantively respond to Carvana’s response letter. Rather, Plaintiff

filed a motion asking this Court to compel Carvana to respond to RFA 5, 9, 11, 12, 18, and

23, ROG 1, 5, 6, and 734, and RFP 1, 5, and 6. (See ECF No. 39).5

         These Requests, and Carvana’s Responses thereto, are outlined below.

    Plaintiff’s Request                            Carvana’s Response

    RFA 5: Admit that you have no personal Response to RFA 5: Denied.
    knowledge       that    Plaintiff    visited
    carvana.com on April 7, 2020 or August
    17, 2020 and made changes regarding his
    address, yearly income, zip code or a
    request for financing pre-qualification.
    RFA 9: Admit that you did not Response to RFA 9: Denied.
    substantially comply with Experian's
    requirements regarding how to obtain
    written consent for pre-qualification over
    the internet on August 15, 2019.



1
  On April 23, 2022, at 5:24 am EST, Plaintiff agreed to the form of the proposed Stipulated
Order of Protection which was sent to him on April 4, 2022 with Carvana’s response to
Plaintiff’s Meet and Confer Letter. (See Emails exchanged between Plaintiff and counsel
for Carvana attached hereto as Exhibit A). Subsequently, on April 25, 2022, the next
business day, Carvana filed the Joint Motion for Entry of Protective Order. (See ECF No.
36; Ex. A). Thereafter, on April 29, 2022, Carvana served its supplemental response to
Plaintiff’s RFP 2 and second production set. (See ECF No. 39 at 3; Ex. A).
2
  On April 23, 2022, at 6:16 am EST, Plaintiff responded to Carvana’s response to
Plaintiff’s Meet and Confer Letter by email indicating that he would proceed with filing a
motion to compel; that same day, counsel for Carvana responded requesting a meet and
confer conference by telephone as required by Local Rule 37.1(a) and Plaintiff did not
respond. (See Emails exchanged between Plaintiff and counsel for Carvana attached hereto
as Exhibit B).
3
  Plaintiff raised issues with Carvana’s response to RFP 7 for the first time in the instant
Motion.
4
  Prior to the instant Motion, the only issues raised with RFA 5, 9, 11, 12, and 23 were that
no documents relating to those requests were produced in response to RFP 1.
5
  Plaintiff previously raised issues concerning RFP 2, 4, and 10, but those issues have been
addressed.
                                               3


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Plaintiff’s Request                                  Carvana’s Response

RFA 11: Admit that you took no steps to Response to RFA 11: Denied.
make your credit disclosure used during the
purchase of a vehicle clearly visible and
conspicuous before, during or after you hid
the FAQ at carvana.com regarding credit
inquiries that were not initiated by
consumers.

RFA 12: Admit that your Carvana account Response to RFA 12: Denied.
profile page did not provide a method to
input yearly income between August 2019
and August 2021.

RFA 23: Admit that there is no clearly               Response to RFA 23: Carvana objects to
conspicuous disclosure at carvana.com that           Request No. 23 on the grounds that the
would inform any user of Carvana's                   terms “conspicuous,” “pre-qualification,”
website that a change to their address or zip        and “account review” are vague and
code within their account profile would              ambiguous. Subject to and without waiver
result in a credit inquiry for the permissible       of these objections, Carvana denies
purpose of "pre-qualification", "account             Request No. 23.
review" or any other purpose.

ROG 1: Please explain in detail your                 Response to ROG 1: Carvana objects to
compliance policies for adhering to the              Interrogatory No. 1 as it relies on the term
requirements of the FCRA as it pertains to           “pre-qualification” that Plaintiff does not
pre-qualification over the internet.                 define in accordance with the meaning
                                                     typically ascribed in ordinary usage.
                                                     Carvana      further    objects    to    this
                                                     Interrogatory because it is vague and
                                                     ambiguous as to the term “compliance
                                                     policies.” Carvana further objects to this
                                                     Interrogatory because it seeks the
                                                     discovery of information that is proprietary
                                                     and/or confidential and not proportional to
                                                     the needs of the case. Carvana further
                                                     objects to this Interrogatory because it is
                                                     overly broad and not limited to the time
                                                     period that is relevant for purposes of this
                                                     litigation.



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Plaintiff’s Request                                  Carvana’s Response

ROG 5: Based on your agreements with                 Response to ROG 5: Carvana objects to
Experian to comply with the FCRA,                    Interrogatory No. 5 as it relies on the terms
describe in detail your responsibilities as it       “informed consent” and “pre-qualification”
pertains to obtaining written consent or             that Plaintiff does not define in accordance
written instructions (“informed consent”)            with the meanings typically ascribed in
for the purpose of pre-qualification via the         ordinary usage. Carvana further objects to
internet at carvana.com and specifically as          this Interrogatory as vague and ambiguous
it pertains to you Get My Finance Terms              as it relies on the term “written
process.                                             instructions.” Subject to and without
                                                     waiver of these objections, Carvana refers
                                                     Plaintiff to 15 USC §1681 for the
                                                     requirements of obtaining a credit report.

ROG 6: Please provide the date, time with            Response to ROG 6: In response to
time zone, permissible purpose for each              Interrogatory No. 6, Carvana states the
instance in which you requested                      following. On April 7, 2020 at 4:47 p.m.
information from Experian related to the             (UTC) and in response to Plaintiff’s, or
Plaintiff on April 7 & August 17 of 2020.            someone using Plaintiff’s login credentials
                                                     for Plaintiff’s Carvana account, selection
                                                     of one of the buttons on Carvana’s website
                                                     to get finance terms, Carvana initiated a
                                                     soft credit pull in order to provide the
                                                     requested finance terms. As part of the
                                                     process initiated by Plaintiff, there were
                                                     multiple internal identity checks. Carvana
                                                     submitted only one soft pull form to
                                                     Experian on April 7, 2020, which resulted
                                                     in one soft credit check. Carvana’s
                                                     internal identity checks do call Experian
                                                     but they do not return credit, only identity
                                                     information. On August 17, 2020 at 12:08
                                                     p.m. (UTC) and in response to Plaintiff’s,
                                                     or someone using Plaintiff’s login
                                                     credentials for Plaintiff’s Carvana
                                                     account, selection of one of the buttons on
                                                     Carvana’s website to get finance terms,
                                                     Carvana initiated a soft credit pull in order
                                                     to provide the requested finance terms for
                                                     Plaintiff. As part of the process initiated
                                                     by Plaintiff, there were multiple internal
                                                     identity checks. Carvana submitted only
                                                 5


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Plaintiff’s Request                                 Carvana’s Response

                                                    one soft pull form to Experian on August
                                                    17, 2020, which resulted in one soft credit
                                                    check. Carvana’s internal identity checks
                                                    do call Experian, but they do not return
                                                    credit, only identity information.

ROG 7: Identify the name along with the             Response to ROG 7: Carvana objects to
creation date and time of each document in          Interrogatory No. 7 because it is vague and
which believe to be evidence that the               ambiguous as to the term “written
Plaintiff provided written instructions for         instructions.” Subject to and without
you to inquire into his credit with Experian        waiver of this objection, Carvana refers
on April 7 and August 17 of 2020.                   Plaintiff to its response to Interrogatory No.
                                                    6.

RFP 1: Produce all documents you referred           Response to RFP 1: Carvana objects to
to in answering each of the Plaintiff’s First       Request No. 1 because it calls for Carvana
Set of Interrogatories and Requests for             to produce documents that are publicly
Admissions.                                         available. Carvana further objects to this
                                                    Request to the extent it seeks documents
                                                    that are protected by the attorney-client
                                                    privilege. Subject to and without waiver
                                                    of these objections, Carvana responds by
                                                    stating there are no documents responsive
                                                    to Request No. 1.

RFP 5: Produce a copy of any CFDB [sic]             Response to RFP 5: Carvana objects to
complaint along with your response that             Request No. 5 because it is overly broad
was filed against you by any consumer who           and not proportional to the needs of the
alleged that you inquired into their credit         case as compliance would be unreasonably
without their authorization or without a            time consuming and burdensome as it
permissible purpose from the year 2017 to           would require the compilation and review
present.                                            of a vast array of material having no
                                                    possible relevance to the action. Carvana
                                                    further objects to this Request because it
                                                    not limited to the time period that is
                                                    relevant for purposes of this litigation.

RFP 6: Produce a copy of any document or            Response to RFP 6: Carvana objects to
communication which you believe would               Request No. 6 because it is predicated on a
support your belief that you have a                 legal conclusion. Carvana further objects
permissible purpose for inquiring into the          to this Request because it seeks
                                                6


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    Plaintiff’s Request                              Carvana’s Response

    credit of a consumer if that consumer            information or documents that are
    allegedly visits their account profile at        protected by the attorney-client privilege
    carvana.com and (i) changes their address,       and/or the work product doctrine. Subject
    (ii) changes their income or (iii) changes       and without waiver of this objection,
    their zip code.                                  Carvana states that the Fair Credit
                                                     Reporting Act provides a list of permissible
                                                     purposes for obtaining a credit report at 15
                                                     USC §1681(b) and refers Plaintiff to this
                                                     statute in Response to this Request.


           After Plaintiff sent his Meet and Confer Letter and after Plaintiff filed the Motion,

Plaintiff served Carvana with supplemental discovery requests, including requests for

production specifically crafted to obtain the information Plaintiff contends he expected to

receive through Carvana’s responses to Plaintiff’s original discovery requests, including

RFP 1. (See Excerpt of Pl.’s Suppl. Disc. Req. attached hereto as Exhibit C).6

                                    LEGAL STANDARD

         Rule 26 of the Federal Rules of Civil Procedure provides the following scope of

discoverable information:

         Parties may obtain discovery regarding any nonprivileged matter that is
         relevant to any party's claim or defense and proportional to the needs of the
         case, considering the importance of the issues at stake in the action, the
         amount in controversy, the parties’ relative access to relevant information,
         the parties’ resources, the importance of the discovery in resolving the issues,
         and whether the burden or expense of the proposed discovery outweighs its
         likely benefit.

Fed. R. Civ. P. 26(b)(1) (emphasis added).


6
 By serving discovery asking for this information, Plaintiff appears to have conceded that
he didn’t seek the information he argues was requested in his original Requests. Moreover,
Plaintiff’s supplemental discovery moots the instant Motion.
                                                 7


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       Motions to compel are governed by Federal Rule of Civil Procedure 37,

which states, in pertinent part:

       (a) Motion for an Order Compelling Disclosure or Discovery.
       (1) In General. On notice to other parties and all affected persons, a party
       may move for an order compelling disclosure or discovery. The motion must
       include a certification that the movant has in good faith conferred or
       attempted to confer with the person or party failing to make disclosure or
       discovery in an effort to obtain it without court action.

Fed. R. Civ. P. 37(a)(1).
                                       ARGUMENT

   I. This Court Should Deny Plaintiff’s Motion Because Plaintiff Did Not Convene
      A Local Rule 37.1(a) Conference To Address The Issues Raised in the Motion.

       Local Rule 37.1(a) provides:

        The Court will not consider motions and objections relating to discovery unless
       moving counsel files a certificate that after personal consultation and diligent
       attempts to resolve differences the parties are unable to reach an accord. The
       certificate shall set forth the date of the conference, the names of the participating
       attorneys, and the specific results achieved. It shall be the responsibility of counsel
       for the movant to arrange for the conference [which must be held either in person
       or] . . . at any party’s request, the conference may be held by telephone.

       The meet and confer requirement is not merely a formalistic prerequisite, and does

apply to Plaintiff as a pro se litigant despite Plaintiff’s implication that it does not. (See

ECF No. 39 at 1). See LR 11.1(a) (“Any individual who is representing himself or herself

without an attorney is bound by the Federal Rules of Civil or Criminal Procedure, this

Court’s Local Rules, and all other applicable law. All obligations placed on ‘counsel’ by

this Court’s Local Rules apply to individuals appearing pro se. Failure to comply may be

grounds for dismissal, judgment by default, or any other appropriate sanction.”). See also

Nickles v. State Farm Mut. Auto. Ins. Co., No. 1:17CV1027, 2019 WL 11658759, at *2


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(M.D.N.C. Apr. 16, 2019) (denying pro se litigant’s motion to compel because it did not

include the required “certification that [Plaintiff] has in good faith conferred or attempted

to confer with [Defendant] ... in an effort to obtain [the requested documents] without court

action”) (citing Fed. R. Civ. P. 37(a)(1), LR 11.1(a), and LR 37.1(a)). Although courts have

found that “[d]etailed correspondence outlining the deficiencies in discovery responses and

the reasons the requesting party needs the requested information can satisfy a party’s Rule

37(a) conferral obligations if such correspondence permits sufficient time for the opposing

party to respond[,]” a letter that does not discuss all the disputed requests does not meet

this standard. See Solais v. Vesuvio’s II Pizza & Grill, Inc., No. 1:15CY227, 2015 WL

6110859, at *9 (M.D.N.C. Oct. 16, 2015) (finding that the defendant’s letter did not satisfy

the meet and confer requirement when it, among other things, demanded production of

documents in response to all requests, but only discussed one request specifically).

       Here, Plaintiff requests this Court compel responses to certain discovery requests

that were not raised during the meet and confer process at all. (Compare ECF No. 39 with

ECF Nos. 39-7). Specifically, Plaintiff has asked this Court to compel Carvana to respond

to RFA 5, 9, 11, 12, 18, and 23, ROG 1, 5, 6, and 7, and RFP 1, 5, and 6. (See ECF No.

39). However, prior to filing Plaintiff’s Motion, Plaintiff did not raise any issue with ROG

7, and the only issue raised with RFA 5, 9, 11, 12, and 237 were that no documents relating

to those requests were produced in response to RFP 1. (See ECF No. 39-7 at 7-9). The fact

that Plaintiff has raised discovery issues for the first time in his Motion demonstrates that


7
 Plaintiff argues for the first time in his Motion that RFA 5, 9, 11, 12, and 23 should have
been admitted by Carvana. (ECF No. 39 at 12-18).
                                             9


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an adequate discovery conference was not held. See MCI Const., LLC v. Hazen & Sawyer,

P.C., 211 F.R.D. 290, 292 (M.D.N.C. 2002) (“A party has not normally met its duty under

the Local Rules when the Court finds the party must raise matters or positions for the first

time in a motion to compel or during the pendency of the motion. This is often evidence

that an adequate discovery conference was not held.”) (citing “Local Rule 26.1(c)” which

required “that parties embroiled in a discovery dispute engage in ‘personal consultation

and diligent attempts to resolve differences’ before bringing the matter before the Court”).

       Pursuant to the express language of Local Rule 37.1(a), Plaintiff was required to

initiate a meet and confer conference to be held either in person or by telephone prior to

filing the Motion. Not only did Plaintiff fail to engage in a meet and confer conference,8

despite counsel for Carvana’s many requests to do so (see ECF No. 39-8 at 2, 13; Ex. B at

1), Plaintiff has raised discovery issues for the first time in his Motion. Thus, even if the

Court does not strictly enforce the meet and confer requirements of Local Rule 37.1(a),

which Plaintiff has clearly not satisfied, Plaintiff has also failed to meet the less stringent

meet and confer requirements of Federal Rule 37(a). For these reasons alone, Plaintiff’s

Motion should be summarily denied.

    II. Plaintiff’s Motion Seeks to Compel Carvana to Admit Allegations That Are
        Not True.

       For the first time in his Motion, Plaintiff argues that Carvana’s denial of RFA 5, 9,

11, 12, and 23 (see chart, supra) were improper and should have been admitted. (ECF No.


8
  Plaintiff certifies only that he conferred with counsel for Carvana on March 28, 2022 and
does not specify whether this was done in person or by telephone as Local Rule 37.1(a)
requires. (See ECF No. 39 at 22).
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39 at 12-18). As an initial matter, Plaintiff’s argument should be disregarded because

Plaintiff failed to raise this position or attempt to resolve this dispute prior to filing the

Motion. See MCI Const., LLC., 211 F.R.D. at 292. Nonetheless, should the Court consider

Plaintiff’s argument the result is the same: Plaintiff cannot compel Carvana to admit

allegations that are simply not true and were therefore properly denied just because he does

not like the answers provided.9

    III. Plaintiff’s Motion Seeks to Compel Documents That Do Not Exist.

       Carvana appropriately objected to Plaintiff’s RFP 1 (see chart, supra) which sought

“all documents [Carvana] referred to in answering each of the Plaintiff’s First Set of

Interrogatories and Requests for Admissions.” (ECF No. 39-5 at 7). Notwithstanding

Carvana’s objections, Carvana responded that “there are no documents responsive to

Request No. 1.” (Id.). This is because Carvana did not “refer” to any documents in reponse

to Plaintiff’s First Set of Interrogatories and Requests for Admission. To the extent Plaintiff

is seeking all documents Carvana reviewed or relied upon in response to Plaintiff’s

interrogatories and requests for admission, that request is overly broad and unduly

burdensome. The Middle District of North Carolina has held that a request seeking “all

documents identified in or relied upon in response to Defendant’s interrogatories” is

“analogous to seeking all documents relating to the allegations in a complaint”; and, “such




9
  Carvana’s proposed changes to the affirmative allegations in its Answer (that Plaintiff
refused to consent to) do not change Carvana’s answer to RFA 5 or 12. (See ECF No. 39-
8 at 7-8. See also ECF No. 39-4 at 12 (Carvana’s Resp. to ROG 13)).
                                              11


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a sweeping request is not permitted.” Donnelly v. Arringdon Dev., Inc, No. 1:04CV889,

2005 WL 8167556, at *2 (M.D.N.C. Nov. 8, 2005).

         Throughout Plaintiff’s Motion he contends that, in response to RFP 1, he should

have received documents specific to RFA 5, 9, 11, 12, 18 and 23 (see chart, supra). (ECF

No. 39 at 10, 15-18). Carvana denied each of the aforementioned requests (ECF No. 39-3

at 6-10, 12), yet Plaintiff argues Carvana was obligated to somehow produce documents to

demonstrate why these requests were denied. Carvana did not “refer” to any documents in

response to the aforementioned requests and, regardless, it is not obligated to produce any

documents responsive to RFP 1 because such an overly broad request is not permitted

under North Carolina law. See Donnelly, 2005 WL 8167556 at *2.

         Plaintiff also takes issue with the fact that Carvana did not produce any documents

related to ROG 1, 5, 6, and 7 in response to RFP 1 and requests the Court order Carvana to

produce documents “reviewed” or “referred to” as “a supplement to RFP 1.” (ECF No. 39

at 9-12). For the same reason discussed above, Carvana is also not obligated to produce

any documents related to its response to the disputed interrogatories. See Donnelly, 2005

WL 8167556 at *2.

     IV.Plaintiff’s Motion Improperly Seeks to Compel Information That Has
        Already Been Provided.

        In response to Plaintiff’s ROG 6 (see chart, supra), Carvana provides a detailed

and complete answer.10 (ECF No. 39-4 at 11). Notwithstanding, Plaintiff argues that


10
  As acknowledged by Carvana in its Answer, “Carvana [at the time of filing its Answer]
[did] not ha[ve] an opportunity to conduct a sufficient investigation or to engage in
adequate discovery touching on the circumstances of Plaintiff’s allegations.” (Answer to
                                            12


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Carvana failed to provide him with “three pieces of information.” (Id.) Carvana’s response

to ROG 6, however, is complete as it provides provides the date, time, and purpose for the

soft-credit inquiries.

   V. Plaintiff’s Motion Fails Because Plaintiff Has Not and Cannot Overcome
      Carvana’s Valid Objections.

       The party seeking discovery has the burden to show that the discovery request falls

within the confines of Rule 26 if the objection to the discovery request has been properly

articulated. See Brown v. Blue Cross & Blue Shield of Alabama, No. 3:13-CV-121-GCM,

2014 WL 3519100, at *5 (W.D.N.C. July 15, 2014) (citing Mainstreet Collection, Inc. v.

Kirkland's, Inc., 270 F.R.D. 238, 240 (E.D.N.C. 2010)). A proper objection to a discovery

request states the grounds for objecting with specificity. See Brown, 2014 WL 3519100 at

*5 (citing Fed. R. Civ. P. 33(b)(4)); Mainstreet Collection, Inc., 270 F.R.D. at 240. As

discussed below, Carvana objected to ROG 1 and 5, RFA 18, and RFP 5 and 6 with the

requisite level of specificity, and on that basis, Plaintiff’s Motion fails.

          A. Carvana’s Objections To ROG 1 Are Valid.

       Carvana properly articulated its objections to ROG 1 (see chart, supra). First,

Carvana objects to this interrogatory on the grounds that it relies on the term “pre-

qualification” that Plaintiff does not define in accordance with the meaning typically

ascribed in ordinary usage. (ECF No. 39-4 at 6). Plaintiff defined “pre-qualification” to


Pl.’s First Am. Compl., ECF No. 22 ¶ 134). In its response to Plaintiff’s Meet and Confer
Letter, Carvana also acknowledged that it made affirmative allegations in its Answer
regarding Plaintiff directly making changes to his Carvana account on April 7, 2020 and
August 17, 2020 that would be removed if Plaintiff consented to Defendant filing an
amended Answer. (ECF No. 39-8 at 7-8). Plaintiff refused. (Ex. B).
                                               13


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 mean “performing a soft credit pull of a credit report for the purpose of providing finance

 terms to a consumer who has requested pre-qualification prior to consummation of a credit

 transaction.” (ECF No. 39-1 at 3). Further, Plaintiff’s definition of “pre-qualification” uses

 the term pre-qualification as part of the definition, and as a result, it is unclear what the

 term means in the context of ROG 1. Simply because Carvana used the term “pre-

 qualification” in its Answer as Plaintiff points out does not mean that the term was used

 as defined by Plaintiff. (See ECF No. 39 at 6, 9); See “Pre-qualify.” Merriam-Webster.com

 2022.    https://www.merriam-webster.com/dictionary/prequalify         (“to   qualify   as   a

 candidate: to meet the preliminary requirements for something”).

         Second, Carvana objected to ROG 1 on the grounds that the request is vague and

 ambiguous and provided the basis for that position in its response. (ECF No. 39-4 at 6)

 (“Carvana further objects to this Interrogatory because it is vague and ambiguous as to the

 term ‘compliance policies.’”). Plaintiff does not define the term “compliance policies” and

 as a result, Carvana is called upon to speculate as to what information is sought by

 Plaintiff.

          Third,11 Carvana objected to ROG 1 because it is not proportional to the needs of

 the case considering Plaintiff has alleged no damages and has admitted that “soft inquiries

 are generally the type of credit inquiry that do not affect a credit score.” (Pl.’s Memo., Ex.

 I, ECF No. 39-9, ¶ 25; See generally ECF No. 18). See also Nowlin, 2011 WL 7087108 at


11
   In light of the Stipulated Order of Protection (ECF No. 37) which was entered by this
Court after Carvana responded to Plaintiff’s discovery requests, Carvana does not object
to ROG 1 on the basis that it seeks the discovery of proprietary and/or confidential
information. (See ECF No. 39-4 at 6).
                                              14


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 *2 (dismissing FCRA claims in which the plaintiff alleged that he suffered a decrease in

 credit score as a result of an authorized request for credit report for failure to sufficiently

 allege damages).

       Fourth, Carvana objected to ROG 1 on the basis that it is overly broad as it is not

 limited in time. (ECF No. 39-4 at 6). Plaintiff contends that this request is not overly broad

 because “it is limited to policies specific to FCRA and more specifically to pre-

 qualification over the internet, which deals with their website and agreements with

 Experian.” (ECF No. 39 at 9) (emphasis added). What Plaintiff fails to consider, however,

 is that Carvana is an online automobile dealer. Therefore, this request as written includes

 every transaction Carvana has entered into during its existence as a company. This request

 is therefore overly broad.12

          B. Carvana’s Objections to ROG 5 Are Valid.

       In response to ROG 5 (see chart, supra), Carvana objected on the grounds that the

 request relied on the term “pre-qualification” which, as stated supra, is unclear. (See ECF

 No. 39-1 at 3; ECF No. 39 at 6, 9-10; ECF No. 39-4 at 8).

       Carvana also objected to ROG 5 because, similar to the foregoing objection,

 “informed consent” also varies from the typical meaning of the term. (ECF No. 39-4 at 8).

 Plaintiff defines “informed consent” to mean:

       there is agreement to an interaction or action rendered with knowledge of relevant
       facts, such as the risks involved or any available alternatives. i.e., The user is aware

12
  Plaintiff, for the first time in his Motion, states that “Carvana could have limited the time
period of the claims at issue (i.e., policies as they existed from August 2019 to August
2020.).” (ECF No. 39 at 9). Plaintiff, however, did not narrow this request in his Meet and
Confer Letter. (See ECF No. 39-7 at 3-4).
                                              15


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       of what is being presented and must, prior to moving on with a transaction, indicate
       their agreement by some affirmative action such as, among other things, (a)
       electronically sign a document (i.e. ESIGN Act), (b) clicking a checkbox which
       signals their affirmative agreement if check or (c) pressing # on a telephone which
       signals their affirmative agreement.


(ECF No. 39 at 6-7; ECF No. 39-1 at 3-4). The widely accepted definition of the term

“Informed Consent”, however, means “[a] person's agreement to allow something to

happen, made with full knowledge of the risks involved and the alternatives.” CONSENT,

Black's Law Dictionary (11th ed. 2019). Plaintiff’s definition of “informed consent”

appears to be nothing more than specific examples of the steps Plaintiff believes Carvana

should follow under the Fair Credit Reporting Act (“FCRA”).

        Carvana also objected to ROG 5 on the grounds that the request is vague and

ambiguous and, as with ROG 1, provided the basis for that position in its response. (ECF

No. 39-4 at 8) (“Carvana further objects to this Interrogatory as vague and ambiguous as it

relies on the term ‘written instructions.’”). Plaintiff does not define the term “written

instructions” and as a result, Carvana is called upon to speculate as to what information is

sought by Plaintiff. Regardless, Carvana did not withhold any documents, and in response

to Interrogatory Number 5 referred Plaintiff to 15 U.S.C. § 1681b. (Id.). Considering

“written instructions” is a legal term used in 15 U.S.C. § 1681b and is not defined by that

statute, reference to the statute is appropriate and Carvana completely responded to

Plaintiff’s request. (See ECF No. 39 at 10).




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             C. Carvana’s Objections to RFA 18 Are Valid.

            Plaintiff’s RFA 18 (see chart, supra) is fraught with issues to which Carvana

     properly objected. (See ECF No. 39-3 at 9-10).

            First, Plaintiff has sought to compel Carvana to admit that one or more consumers

     have filed complaints with “the CFDB” against Carvana due to credit inquiries not

     authorized similar to the complaint provided in a hyperlink. (ECF No. 39 at 17). That is

     objectionbale on its face, as “[r]equests for admissions are not a discovery device.” Tyler

     v. Lassiter, No. 5:13-CT-3139-FL, 2015 WL 1289817, at *2 n.1 (E.D.N.C. Mar. 20,

     2015) (emphasis added). “In making requests for admissions, the requesting party bears

     the burden of setting forth its requests simply, directly, not vaguely or ambiguously, and

     in such a manner that they can be answered with a simple admit or deny without an

     explanation, and in certain instances, permit a qualification or explanation for purposes

     of clarification.” Id. at *2 (quotation marks and citation omitted). RFA 18 does not meet

     that standard. Not only is “the CFDB” not defined13, Plaintiff does not make clear what

     is intended by “similar” complaints, especially considering the complaint referred to and

     hyperlinked by Plaintiff was filed in Texas by a consumer asserting allegations against

     Carvana Group, LLC, not Defendant Carvana, LLC.14 Carvana is therefore unable to

     answer Plaintiff’s request with a simple admit or deny.



13
   Plaintiff admits that he made a clerical error in typing “CFDB” instead of “CFPB.” (ECF
No. 39 at 17).
14
   Plaintiff contends that since “someone clearly reviewed that specific CFPB complaint
and noticed it involved someone from a different state[,]” it should be produced along with
Carvana’s response to that specific CFPB complaint in response to RFP 1. (ECF No. 39 at
                                                17


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         Second, Plaintiff’s request is not relevant15 to any claim or defense in this case.

Whether or not other consumers, including consumers in other states, have filed complaints

with the Consumer Financial Protection Bureau alleging that a Carvana entity initiated

unauthorized credit pulls is not relevant to Plaintiff’s claim that Carvana, LLC initiated a

soft pull of his credit without a permissible purpose since 15 U.S.C. § 1681b does not limit

permissible purpose to “consumer authorization” as Plaintiff’s request implies.

          D. Carvana’s Objections to RFP 5 Are Valid.

       Carvana properly objected to RFP 5 (see chart, supra). (ECF No. 39-5 at 8-9). First,

Plaintiff’s request is not limited in time or scope and thus is overly broad. Plaintiff’s request

for documents from year 2017 to present is not reasonably limited to the time period

relevant to this case. As stated supra, the crux of Plaintiff’s claims is the soft inquiries of

Plaintiff’s credit on April 7, 2020 and August 17, 2020. (See generally ECF No. 18). RFP

5 seeks information about other consumers which is simply not relevent to this case.

Whether Carvana had a permissible purpose to do a soft pull of another consumer’s credit

at some time in the past has abolsutely no bearing on whether Carvana had a permissible

purpose to do a soft pull of Plaintiff’s credit on April 7, 2020 and August 17, 2020. It also


17). Plaintiff is mistaken for reasons discussed supra in Section III of this Response
concerning RFP 1.
15
   It is important to point out that Plaintiff is mistaken as to the scope of discovery.
According to Plaintiff, “[i]t is black letter law that a party respond to discovery requests
‘reasonably calculated to lead to the discovery of admissible evidence.’” (ECF No. 39 at
3) (quoting Fed. R. Civ. P. 26(b)(1)). Plaintiff, however, quotes an earlier version of Rule
26(b)(1) which was amended in December 2015. Instead, under most recent version of this
rule, information must be nonprivileged, relevant to any party’s claim or defense, and
proportional to the needs of the case in order to be discoverable. See Fed. R. Civ. P.
26(b)(1).
                                               18


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has no bearing on whether Carvana may have had any another permissible purpose to do

the soft pulls of Plaintiff’s credit pursuant to 15 U.S.C. § 1681b.

       Second, this request is not proportional to the needs of the case considering the

burden to identify responsive materials balanced against the issues and amount in

controversy, particularly where Plaintiff has suffered no damages. (See ECF No. 39-9, ¶

25; ECF No. 18). See also Nowlin, 2011 WL 7087108 at *2.

       Third, notwithstanding the above, Plaintiff has admitted that some of the requested

documents are publicly available and therefore he has the same access and opportunity to

obtain this information without requiring Carvana to conduct a search. (See ECF No. 39 at

18-19; ECF No. 39-7 at 13-14).

         E. Carvana’s Objections to RFP 6 Are Valid.

       Carvana objected to RFP 6 (see chart, supra) on the grounds that it is predicated on

a legal conclusion and seeks information or documents protected by Attorney-Client

Privilege and/or attorney work product doctrine. (ECF No. 39-5 at 9). Notwithstanding

Carvana’s proper objections, Carvana referred Plaintiff to the relevant statute which lists

the permissible purposes available under the FCRA to obtain a consumer report. (Id.)

Carvana is not in possession of any other documents responsive to this request. Carvana

appropriately and completely responded to Plaintiff’s request by referring Plaintiff to the

statute providing the list of permissible purposes Carvana is required to follow.

         F. Carvana’s Objections to ROG 7 Are Valid.

       Should the Court address the merits of Plaintiff’s arguments for ROG 7 despite the

fact that Plaintiff did not confer with Carvana at all concerning this interrogatory, Carvana

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maintains that its objections were warranted. Carvana objected to ROG 7 (see chart, supra)

on the grounds that the request is vague and ambiguous and specified how this request

qualifies as vague and ambiguous in its response. (ECF No. 39-4 at 9) (“Carvana objects

to Interrogatory No. 7 because it is vague and ambiguous as to the term ‘written

instructions.’”). As with several other requests, Plaintiff does not define the term “written

instructions” and, as a result, Carvana is called upon to speculate as to what information is

sought by Plaintiff. Moreover, 15 U.S.C. § 1681b does not limit permissible purpose to

“consumer authorization” as Plaintiff’s request implies. Nothwithstanding Carvana’s valid

objections, it refers Plaintiff to its response to ROG 6 which provides the circumstances

under which Carvana justifies the disputed soft credit pulls. (Id.). Carvana’s response to

this interogatory is complete.

                                     CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiff’s Motion to Compel

Discovery Responses.

Respectfully submitted this the 16th day of May, 2022.

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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rules 7.3(d)(1) of the Rules of this Court, I certify that

DEFENDANT CARVANA, LLC’S RESPONSE IN OPPOSITION TO PLAINTIFF’S

MOTION TO COMPEL DISCOVERY RESPONSES, which was prepared using Times

New Roman 13-point typeface, contains 5,930 words, excluding the parts of the document

that are exempted by Rule 7.3(d)(1). This certificate was prepared in reliance on the word-

count function of the word-processing system (Microsoft Word) used to prepare the

document.

      I declare under penalty of perjury that the foregoing is true and correct.



DATED this 16th day of May 2022.


                                             /s/Ashia Crooms-Carpenter
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                           CERTIFICATE OF SERVICE

      I, Ashia Crooms-Carpenter, hereby certify that, on May 16, 2022 a true and correct
copy of the foregoing was served upon Arthur Hill using the Court’s CM/ECF system:

      Arthur Hill
      2849 Trestle Court SW
      Concord, NC 28025
      Pro Se Plaintiff




                                        /s/Ashia Crooms-Carpenter
                                        Attorney for Carvana, LLC




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